Case 5:13-cv-02186-R-SP Document 1 Filed 11/27/13 Page 1 of 33 Page ID #:1

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 1    THOMAS F. LANDERS ISBN 207335]
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 3    SóLÔMOñW.A.RD SEIDENIVURM & SMITH,                         LDFrß.ä   j.   ::.
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 4    Sg,lFot:lffbf'ìiJtlSlortotBY:-
 5    F;l:rå?'Ëtúu'E)'4":-Pl';
 6    Attornevs for Defendant MIDLAND
      CREDIf MANAGEMENT, INC.
 7

 B                                TINITED STATES DISTRICT COURT
                CENTI{AL DISTRICT OF CALIFORNIA, EASTERN DIVISIO_N_                                                q' ,X
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71    CHARLEEN SMITH,                                     CASE NO.                                                         i
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72                        Plaintiü                                                                                          i

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                                                          NOTICE OF REMOVAL OF                                              L.
13    v.                                                  ACTION UNDER 28 U.S.C. $ raal(a)                                  ,
                                                                                                                            .l   ii
                                                                                                                            ::
14    MIDLAND CREDIT                                      State Court Complaint                 Filed: l0/18/13
      MANAGEMENT, INC.; and
15    DOES I tO 20,INCLUSIVE,
16                        Defendant,

17

1B              TO TFM CLERK OF TI-IE COURT:
19              PLEASE TAKE NOTICE thatpursuant to2S U.S.C. $$ laal(a) and 1331,
20    Defendant Midland Credit Management, Inc. ("Midland") hereby removes this
27    action from the Superior Court of the St¿te of California for the County of San
,',   Bernardino, Case No. CIVDS 1312719 (the "State Case") to the United States
23    District Court for the Central District of Califomia, Eastern Division. The grounds
24    for this removal are:
25              FACTUAL STIMMARY
26              l.        On October 18, 2013, plaintiff Cha¡leen Smith commenced the State
27    Case alleging violations of the federal Fair Debt Collection Practices Act (15 U,S,C,
28


      P:O0E?J0l a:8?025.029                             -l-
                               NOTICE OF REMOVÀL OF ACTION LINDER 28 U.S.C. 6 l44lla)
     Case 5:13-cv-02186-R-SP Document 1 Filed 11/27/13 Page 2 of 33 Page ID #:2


 1
       ç   1692 et seq.) and the Rosenthal Fair Debt Collection Practices Act (Cal. Civ. Code
 )     $ 1788 et seq.).
 3               2.         Midland was served with the summons and complaint on October 29,
 4     20t3.
 5               3.         This notice is therefore timely pursuant to 28 U.S.C. $ 1446(b) because
 6     it is being filed within thirty days after service of the complaint.
 7               JURISDICTION
 I               4.         Removal is proper pursuant to 28 U.S.C. $ laal(a), which entitles a
 I     defendant to remove "any           civil action brought in a State court of which the district
10     courts of the United States have original jurisdictiqn," and 28 U.S.C. $ 1331, which
11     gives district courts "original jurisdiction of all civil actions arising under the
12     Constitution, laws, or treaties of the United States." The district court has
13     supplemental jurisdiction over the alleged state law claim because it is so related to
14     the claim over which the district court has original jurisdiction that it "form[s] part
15     of the same case or controversy." 28 U.S.C. $ 1367(a).
16               5.         Pursuant to 28 U.S.C. $ 14a6(a), Midland attaches as Exhibits L and2 a
17     copy of all process, pleadings, and orders served upon defendant in the State Court
18     action.
19     DATED: November              27   ,2013     SOLOMON WARD SEIDENWURM
20

21

,t
                                                             H S. STRICKLAND
23                                                      Þítornevs for MIDLAND CREDIT
                                                        MANAGEMENT. INC.
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                                 NOTICE OF REMOVAL OF ACTION UNDER23 U.S.C. ô l44lla)
     Case 5:13-cv-02186-R-SP Document 1 Filed 11/27/13 Page 3 of 33 Page ID #:3



 1                                         INDEX TO EXHIBITS
 ,                                                                                                 Pages

 3

 4     Exhibit 1:         State Court Action                                                        3-20
 5     Exhibit 2:         State Court Answer             ................................   .........21-26
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               Case 5:13-cv-02186-R-SP Document 1 Filed 11/27/13 Page 30 of 33 Page ID #:30

                                                         uN¡TED STATES DISTR|CT COURT, CenrReL DISTRICT OF CALIFORNIA
                                                                                                      CIVIL COVER SHEET

l. {a) PLAINTIFFS ( Check box lf you are representing yourself                                  f]    )        DEFENDANTS                  ( Check box lf you are representlng yourself
                                                                                                                                                                                                       !
CHARLEÊN             SMñ}I                                                                                       MDTAND CREDIT T/!ÀNAGEMENT, INC




(b) Attornevs (Firm Name, Address and Telephone Numbe¡.                                    you                     Attorneys (Flrm Name, Addtess and Telephone Number, lf you
àrè represeñttà9 yourself, provlde same lnformation,)                                                              fepresent¡ng yourself, provide same lnformatlon.)
 Paul Mankln, lV ISBN 264038J                                                                                  Thomâr  F. Lãnders ISBN 2073351/Leah S. Strlckland [S8N265724]

 TAW OFFICES OF PAULMANKIN.IV                                                                                  SOLOMON WARD SEIDENWURM & SMNH. Tl-P
 369 5, Doheny DL, $41 5.8evotly H¡llr, CA 9021                 l                                              40ì B sûeet, Ste ì200,Sån Dlego, CA 92101
 Tel: (877) 2úa74¡; Fax: (866) 6334228                                                                         Tel: (619) 231{303;Fsn (6t9) 231-4755

tl. BASIS            OF JUR¡SDICTION (Place an X ln one box only.)                                          :ffiZENSHIP OF PRINCIPAL PðRT!ES-F-or Qlv_ersl.ty Cas€s Only
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     Plaintiff                                  -       Government Not å Party)
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f-'l 2. U-5. Gove¡nment
u                                               n       4. Dlverslty (lnd¡cate Cltizenship                    or Subjea of a
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     Defendant                                  "       of Partles in ltem lll)
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V.REeUESTEDtNCOMptAtNT: JURYDEMAND:                                                   ffi Yes D No                (Check'Yes"onlyifdemandedincomplalnt.)
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CLASSACTIONunderF.R.Cv.P.23:                                         lYes ffiNo                              B    MONEyDEMANDED¡NCOMPLAINT: S Notspecified                                                                   i:l'
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                     Case 5:13-cv-02186-R-SP Document 1 Filed 11/27/13 Page 31 of 33 Page ID #:31
                                           UNITED STATES DISTRICT COURT, CENTRAL D¡STRICT OF CALIFORNIA
                                                                                          CIVIL COVER SHEET


Vlll.       VENUE: Youranswerstothequestionsbelowwill           determinethedivisionoftheCourttowh¡chthiscasewill mostlikelybeinitiallyassigned.Thisinitial                                                                         assignment
is subject    to change, in accordance w¡th the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.




luestion B: ls the Un¡ted States, or one ol                                                                                                                                                tlii:i'|ïi
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f "no, " go to Question C. lf "yes," checkthe               ! LosAngeles                                                      I LosAngeles                                                                               Western
)ox to the frgnf tnat applles, enrer rne                       Ventura, Santa Barbara, or San Lu¡s                               Ventura, Santa Barbara, or San Luis
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  1.   ls   either of the follow¡ng true? lf so, check the one that appl¡es:                                      C.2. ls e¡ther of the follow¡ng true? lf so, check the one that applies:

        [      2   ormoreanswers in Column           C                                                                    l-l     2 or more answers in Column D


        !     onry      1   answer in Column   C   and no answers in Column D                                             ffi     onf          1   answer in Column D and no answers in Column                       C



                               Your case will initially be assigned to the                                                                             t"r'."'.                 berassisned to the
                                         SOUTHERN DIVISION,                                                                                                       il'r|¿ïilty
                     Enter "Southern" in response to Quest¡on D. below.                                                                            Enter "Eastern" in response to Quest¡on D, below.

                            lf none applies, answer question C2 to the   right. rr>                                                                      lf none applies, go to the box   Uef   ow.
                                                                                                                                                                                                                 I
                                                                                  Your case will in¡t¡ally be assigned to the
                                                                                                           WESTERN DIVISION.
                                                                             Enter "Western" in response to Question D below.




cv-71 (09/13)                                                                                          CIVITCOVER SHEET                                                                                                    Page 2 of 3
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                                                    UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                                           CIVIL COVER SHEET

lX(a). IDENTICALCASES:                    Has this action been previously filed ¡n this court and dismissed, remanded or                      closed? E             NO                  n    YEs


          lf yes, list case   numbe(s):


lx(b). RELATED CASES:                Have any cases been previously filed in th¡s court that are related to the present case?                                 8No                       fl   YES


          lf yes, list case number(s):


  Civil cases are deemed related if a previously f¡led case and the ptesent case:

  (Check all boxes that        apply)          O. Arise from the same or closely related transactions, happenings, or events; or
                                        ¡
                                                    Catt for determination of the same or substantlally related or similar questions of law and fact;       or
                                        I      e.

                                        l-l    C. Forotherreasonswouldentail substantial duplicationof laborif heardbyd¡fferentjudges;or

                                                                                                                                     identifìed above in a, b or c also   ¡s present.
                                        n      D. lnvolve the         patent,                                     of the


X. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED                                                                                                                              DATE: November 27,2013

Notice to Counsel/Part¡es: The CV-71 (JS-4ø.I
other papers as required by law. This form,
but is úsèd by the clerk of the court for the

Key   to Statistical codes relating to 5oc¡al Security       Cases:


       Nature ofSuit     Code       Abbrev¡at¡on                         Substant¡ve Statement of Cause of Act¡on
                                                             All claims for health insurance benefits (Medicare) under Title 1 8, Part A, of the Social Security Act, as amended. Also,
          861                           HIA                  include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
                                                             (42 U.S.C. 1g3sFF(b))

                                        BL                   All claims for "Black Lung" benefìts under Title 4, Part   B,   of the Federal Coal Mine Health and Safety Act of I 969. (30        U.S.C.
                                                             923)

                                                             All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
          863                           DIWC
                                                             all claims filed for child's insurance benefìts based on disability. (42 U.S.C.405 (S))

                                                             All claims filed for widows or widowers insurance benefits based on disability under Títle 2 of the Social Security Act,              as
          863                                                amended. (a2 U.S.C. a05 (g))

                                                             All claims for supplemental security income payments based upon disability fìled under Title 16 of the Socìal Security Act, as
                                        SSlD
                                                             amended,


                                        RSt                  All claims for retlrement (old age) and survivors benefits under Title 2 of the Soc¡al Security Act, as amended.
                                                             (a2 U.5,c. a0s (g))




cv-71 (09/13)                                                                             CIVIL COVER SHEET                                                                             Page 3   of3
      Case 5:13-cv-02186-R-SP Document 1 Filed 11/27/13 Page 33 of 33 Page ID #:33




                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA

                              NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES


            This case has been assigned to District Judge                    Jesus G. Bernal            and the assigned
  Magistrate Judge is                     Sheri


                     The case number on all documents filed with the Court should read as follows:


                                                  5:13-cv-02186 JGB-SPx


            Pursuant to General Order 05-07 of the United States District Court for the Central District of
  California, the Magistrate Judge has been designated to hear discovery related motions.


            All discovery related motions should be noticed on the calendar of the Magistrate Judge.




                                                                         Clerk, U. S. District Court


                November 27, 2013                                        By M. MEAD
                      Date                                                  Deputy Clerk




                                                    NOTICE TO COUNSEL

 A copy of this notice must be served with the summons and complaint on all defendants (f a removal action is
 filed, a copy of this notice must be served on all plaintiffs).

  Subsequent documents must be filed at the following location:


      LI    Western Division                      Southern Division                  nx   Eastern Division
            312 N. Spring Street, G-8             411 West Fourth St., Ste 1053           3470 Twelfth Street, Room 134
            Los Angeles, CA 90012                 Santa Ana, CA 92701                     Riverside, CA 92501


  Failure to file at the proper location will result in your documents being returned to you.

CV-18 (08/13)                            NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES
